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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR                 )          (WO)


                                ORDER

    It is ORDERED that defendant Milton E. McGregor’s

motion for judgment of acquittal (Doc. No. 2361) is

denied.

    DONE, this the 29th day of February, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
